
PER CURIAM.
We affirm the final order of the Division of Administrative Hearings dismissing Sherin’s petition. The hearing officer’s conclusion that Sherin lacked standing rendered moot any question of the validity of the challenged rules and non-rule policy or any constitutional claim asserted by Sherin; ergo, the findings and conclusions with respect thereto are of no legal effect. See Florida Association of Nurse Anesthetists v. Dept, of Professional Regulation, 500 So.2d 324 (Fla. 1st DCA 1986), rev. denied, 509 So.2d 1117 (Fla.1987).
AFFIRMED.
MINER, MICKLE and DAVIS, JJ., concur.
